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FOR THE WESTERN DISTRICT OF TENNESSEE

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IN THE UNITED sTATEs DIsTRICT CoURT !"£“ z
wEsTERN DIVIsIoN

JERRY L. BILLINGSLEY,

 

Plaintiff,

V. No. 02-2920-B/V
SHELBY COUNTY, et al.,

Defendants .

 

ORDER CONTINUING TRIAL, DENYING DEFENDANT’S MOTION TO HOLD
PLAINTIFF IN CONTEMPT, DENYING DEFENDANT’S MOTION IN LIMINE,
GRANTING DEFENDANT’S TIME TO RESPOND TO PLAINTIFF’S OBJECTIONS
TO MAGISTRATE JUDGE’S RULING, AND DENYING, IN PART, PLAINTIFF’S
MOTION TO DIRECT OFFICERS NOT TO WEAR UNIFORMS AT TRIAL

 

On May 25, 2005, this Court conducted a pretrial conference With the pQ § Plaintiff,
Jerry L. Billingsley, and attorneys Deborah Godwin, Betsy McKinney and Dedrick Brittenum
for the Defendants. At that conference, the Court considered various motions which were
pending and issued the following rulings:

1. As to the motion of the Defendant, Officer J on Kirklaud, for a continuance of trial
date (Docket Entry No. 181), the Court granted the Defendant’s motion based upon the setting
of a criminal trial on June 6, 2005, Which will necessitate the rescheduling of this case;

2. As to Defendant Kirkland’s motion to find Plaintiff in contempt of Court based
upon his failure to appear at the independent medical examination on May 14, 2005 (Docl<et
Entry No. 174), the Court, for the reasons stated at the pretrial conference, finds that

Defendant’s motion is not well taken and will be denied; the Court will hold in abeyance its

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determination as to whether Plaintiff will be required to reimburse Dr. Wolters for the time
spent on May 14 awaiting the arrival of the Plaintiff for the independent medical examination;

3. As to Defendant Officer Jon Kirkland’s motion in limine to exclude evidence of
medical and/or emotional damage (Docket Entry No. 171), the Court denies the Defendant’s
motion for the reasons stated at the pretrial conference;

4. As to Plaintiff’s appeal of Magistrate Judge Diane Vescovo’s determination that
this lawsuit will be conducted as a non-jury trial (Docket Entry No. 179), the Court will allow
Defendants ten (10) days from the entry of this order to file a response to Plaintiff’s objections
to Judge Vescovo’s ruling.

5. The Plaintiff orally requested any law enforcement officers who testify at trial be
directed to not wear their uniforms. The Court denied the Plaintiff’s motion and held that any
officer who is on duty during the days of the trial will be permitted to wear his/her uniform.
If the officer is not on duty, then he/she should wear civilian clothes.

Accordingly, for the reasons stated at the pretrial conference, the Court GRANTED
Defendant Officer Jon Kirkland’s motion for a continuance of trial date; DENIED Defendant
Kirkland’s motion to find Plaintiff in contempt of Court based upon his failure to appear at the
independent medical examination; will hold in abeyance its determination as to whether Plaintiff
will be required to reimburse Dr. Wolters for the time spent on May 14 awaiting the arrival of
the Plaintiff for the independent medical examination; DENIED Defendant Officer l on
Kirkland’s motion in limine to exclude evidence of medical and/or emotional damage; will
permit the Defendants ten (10) days from the entry of this order to file a response to Plaintiff’s

objections to Judge Vescovo’s ruling that this lawsuit will be conducted as a non-jury trial; and

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DENIED, IN PART, Plaintiff’s oral motion to direct law enforcement officers not to wear their

uniforms at trial.
The Court sets a status conference with the Plaintiff and the attorneys for the Defendants
on June 22, 2005, at 1:15 p.m.

IT IS SO ORDERED this l(¢§\day Of May, 2005.

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LJEJ. DANIEL BREEN
LJED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 187 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

